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                                    UNITED STATES JUDICIAL PANEL
                                                 on
                                     MULTIDISTRICT LITIGATION



IN RE: VALSARTAN PRODUCTS LIABILITY
LITIGATION                                                                            MDL No. 2875



                                       (SEE A TTACHED SCHEDULE)



                                 CONDITIONAL TRANSFER ORDER (CTO -1)



On February 14, 2019, the Panel transferred 5 civil action(s) to the United States District Court for
the District of New Jersey for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. See _F.Supp.3d_ (J.P.M.L. 2019). Since that time, no additional action(s) have been
transferred to the District of New Jersey. With the consent of that court, all such actions have been
assigned to the Honorable Robert B. Kugler.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the District of New Jersey and assigned to Judge
Kugler.

Pursuant to Rule 7 .1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Liti~ation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
District of New Jersey for the reasons stated in the order of February 14, 2019, and, with the consent
of that court, assigned to the Honorable Robert B. Kugler.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the District of New Jersey. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7-day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:
   Inasmuch as no objection is
   pending at this time, the
   stay is lifted.                                    ~-
       Feb 25, 2019                                   Jeffery N. Luthi
        CLERK'S OFFICE                                Clerk of the Panel
           UNITED STATES
         JUDICIAL PANEL ON
      MULTIDISTRICT LITIGATION
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IN RE: VALSARTAN PRODUCTS LIABILITY
LITIGATION                                                                MDL No. 2875



                 SCHEDULE CT0-1 -TAG-ALONG ACTIONS



                     C.A.NO,     CASE CAPTION


ALABAMA NORTHERN

  ALN       5      19-00150      Sen v. Zhejiang Huahai Pharmaceutical Co LTD et al

ARKANSAS WESTERN

 ARW        2      19-02017      Selph v. Zhejiang Huahai Pharmaceutical Co., Ltd. et al

CALIFORNIA CENTRAL

                                 Daniel Winiecki v. Zhejiang Huahai Pharmaceutical
  CAC       8      19-00180
                                 Co., LTD. et al

CALIFORNIA EASTERN

                                 Avedikian v. Zhejiang Huahai Pharmaceutical Co., Ltd
  CAE       1      19-00212
                                 et al

CALIFORNIA NORTHERN

 CAN        5      19-00253      Guiton v. Zhejiang Huahai Pharmaceutical Co., Ltd et al

FLORIDA MIDDLE

  FLM       2      18-00710      Molinaro v. Prinston Pharmaceutical Inc. et al

FLORIDA NORTHERN

                                 BARBER v. ZHEJIANG HUAHAI
  FLN       4      19-00023
                                 PHARMACEUTICAL CO LTD et al

FLORIDA SOUTHERN

                                 MSP Recovery Claims, Series LLC v. Huahai US Inc. et
  FLS              18-25260
                                 al

GEORGIA NORTHERN
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 GAN                19-00475     Martey v. Zhejiang Huahai Pharmaceutical Co., Ltd. et
                                 al

INDIANA SOUTHERN

  INS       1       19-00279     BAKER v. MYLAN INC. et al
  INS       4       19-00022     WILLIAMS v. ZHEJIANG HUAHAI
                                 PHARMACEUTICALS CO., LTD. et al

LOUISIANA EASTERN

  LAE       2       19-00078     Slavich v. Zhejiang Huahai Pharmaceutical Co., Ltd. et
                                 al
                                 Kleinman v. Zhejiang Huahai Pharmaceutical Co., Ltd.
  LAE       2       19-00322
                                 et al

LOUISIANA WESTERN

                                 Gremillion v. Zhejiang Huahai Pharmaceutical Co Ltd
 LAW        6       18-01497
                                 et al

MASSACHUSETTS

  MA        1       18-12339     Longwell v. Camber Pharmaceuticals, Inc. et al
                                 Barboza et al v. Zhejiang Huahai Pharmaceutical Co.,
  MA        1       19-10074
                                 Ltd. et al
                                 Williams v. Zhejiang Huahai Pharmaceutical Co., Ltd.
  MA        3       19-30014
                                 et al

MINNESOTA

                                 Tack et al v. Zhejiang Huahai Pharmaceutical Co., Ltd.
  MN        0       19-00091
                                 et al

NEW YORK EASTERN

 NYE        2       18-06916     Cacaccio v. Mylan Pharmaceuticals, Inc. et al
 NYE        2       19-00332     Nelson v. Teva Pharmaceutical Industries, Ltd. et al

OHIO NORTHERN

                                 Pollock v. Zhejiang Huahai Pharmaceutical Co., Ltd et
 OHN        3       19-00233
                                 al

PENNSYLVANIA WESTERN

                                 RODICH-ANNESE v. SOLO HEALTHCARE U.S.,
 PAW        2       19-00046
                                 LLC et al

TENNESSEE EASTERN

                                 Holland et al v. Zhejiang Huahai Pharmaceutical Co.,
  TNE       3       19-00040
                                 Ltd. et al (JRG3)
